Case 19-11395-jkf      Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01              Desc Main
                                Document     Page 1 of 41



                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In Re:                                          : Bankruptcy No. 19-11395-JKF
  Julie E. Strefeler                              : Chapter 13
                          Debtor                  :
                                                  :
  MTGLQ Investors, LP c/o Rushmore Loan           :
  Management Services, LLC                        :
                          Movant                  :
                  vs.                             :
                                                  :
  Julie E. Strefeler and James M. Strefeler (Non- :
  Filing Co-Debtor)
                          Debtors/Respondents     :
                  and                             :
  Scott F. Waterman, Esquire                      :
                          Trustee/Respondent      :

   MOTION FOR RELIEF FROM AUTOMATIC STAY AND CO-DEBTOR STAY
                   UNDER 11 U.S.C. § 362 AND §1301

         Movant, by its Attorneys, Hladik, Onorato & Federman, LLP, hereby requests a
  Termination of the Automatic Stay and leave to proceed with its State Court rights
  provided under the terms of the Mortgage.

         1.     Movant is MTGLQ Investors, LP c/o Rushmore Loan Management
  Services, LLC (“Movant”).

        2.      Debtor, Julie E. Strefeler (“Debtor”) and James M. Strefeler (“Non-Filing
  Co-Debtor”) are the owners of the premises located at 66 Rocky Ridge Road,
  Quakertown, PA 18951 (the “Property”).

          3.      Scott F. Waterman, Esquire is the Trustee appointed by the Court.

        4.     Debtor filed a Petition for Relief under Chapter 13 of the Bankruptcy
  Code on March 6, 2019.

         5.     Movant is the holder of a mortgage lien on the Property in the original
  principal amount of $265,000.00, which was recorded on March 11, 2008 (the
  “Mortgage”). A true and correct copy of the Mortgage is attached hereto as Exhibit “A.”

          6.     The Mortgage was assigned to Movant by way of a series of written
  assignments, the last of which was recorded on August 9, 2017. A true and correct copy
  of the assignment of mortgage is attached hereto as Exhibit “B.”
Case 19-11395-jkf    Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01               Desc Main
                               Document     Page 2 of 41



         7.       Movant has not received the monthly post-petition Mortgage payments
  from July 1, 2019 through January 1, 2020 in the amount of $1,303.89 each, plus
  February 1, 2020 through March 1, 2020 in the amount of $1,369.36 each. Plus, attorney
  fees and costs for this motion in the amount of $1,231.00, for a total post-petition
  arrearage of $13,096.95.

         8.    Movant has cause to have the Automatic Stay terminated, in order to
  permit Movant to complete foreclosure on its Mortgage.

  WHEREFORE, Movant respectfully requests that this Court enter an Order:

         a.      Modifying the Automatic Stay and Co-Debtor Stay under 11 U.S.C. § 362
         and §1301 of the Bankruptcy Code with respect to the Property as to permit
         Movant to foreclose on its Mortgage and allow Movant or any other purchaser at
         Sheriff’s Sale to take legal or consensual action for enforcement of its right to
         possession of, or title to; and

         b.     Granting any other relief that this Court deems equitable and just.


                                                  Respectfully Submitted,

  Date: 03/09/2020                                /s/Danielle Boyle-Ebersole, Esquire
                                                  Danielle Boyle-Ebersole, Esquire
                                                  Hladik, Onorato & Federman, LLP
                                                  298 Wissahickon Avenue
                                                  North Wales, PA 19454
                                                  Phone 215-855-9521/Fax 215-855-9121
                                                  debersole@hoflawgroup.com
Case 19-11395-jkf        Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01       Desc Main
                                  Document     Page 3 of 41


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               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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Julie E. Strefeler                              : Chapter 13
                        Debtor                  :
                                                :
MTGLQ Investors, LP c/o Rushmore Loan           :
Management Services, LLC                        :
                        Movant                  :
                vs.                             :
                                                :
Julie E. Strefeler and James M. Strefeler (Non- :
Filing Co-Debtor)
                        Debtors/Respondents     :
                and                             :
Scott F. Waterman, Esquire                      :
                        Trustee/Respondent      :

                     CERTIFICATION OF SERVICE OF MOTION,
                     RESPONSE DEADLINE AND HEARING DATE

           I, Danielle Boyle-Ebersole, attorney for Movant, MTGLQ Investors, LP c/o
Rushmore Loan Management Services, LLC, hereby certify that I served a true and correct copy
of the Motion for Relief from Automatic Stay and Notice of Motion, Response Deadline and
Hearing Date, by United States Mail, first class, postage prepaid, or Electronic Mail on
03/09/2020 upon the following:

Brad J. Sadek, Esquire                      Julie E. Strefeler
Via ECF:                                    James M. Strefeler
Attorney for Debtors                        66 Rocky Ridge Road
                                            Quakertown, PA 18951
Scott F. Waterman, Esquire                  Via First Class Mail
Via ECF:                                    Debtor and Non-Filing Co-Debtor
Trustee

Dated: 03/09/2020                             /s/Danielle Boyle-Ebersole, Esquire
                                              Danielle Boyle-Ebersole, Esquire
                                              Hladik, Onorato & Federman, LLP
                                              298 Wissahickon Avenue
                                              North Wales, PA 19454
                                              Phone 215-855-9521/Fax 215-855-9121
                                              debersole@hoflawgroup.com
Case 19-11395-jkf   Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document     Page 4 of 41




                              EXHIBIT A
Case 19-11395-jkf   Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document     Page 5 of 41
Case 19-11395-jkf   Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document     Page 6 of 41
Case 19-11395-jkf   Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document     Page 7 of 41
Case 19-11395-jkf   Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document     Page 8 of 41
Case 19-11395-jkf   Doc 32   Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document     Page 9 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 10 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 11 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 12 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 13 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 14 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 15 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 16 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 17 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 18 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 19 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 20 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 21 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 22 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 23 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 24 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 25 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 26 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 27 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 28 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 29 of 41




                               EXHIBIT B
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 30 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 31 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 32 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 33 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 34 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 35 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 36 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 37 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 38 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 39 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 40 of 41
Case 19-11395-jkf   Doc 32    Filed 03/09/20 Entered 03/09/20 16:04:01   Desc Main
                             Document      Page 41 of 41
